   19-50900-cag Doc#267 Filed 04/03/20 Entered 04/03/20 10:56:13 Ntc/Hrg BK intp/lmtntc
                                       Pg 1 of 1
                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                               Bankruptcy Case
                                                                               19−50900−cag
                                                                          No.:
                                                                  Chapter No.: 7
                                                                        Judge: Craig A. Gargotta
IN RE: Legendary Field Exhibitions, LLC and
Ebersol Sports Media Group, Inc. , Debtor(s)




                                       NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

          S.A. Courtroom 3, Hipolito F. Garcia Fed Bldg & Courthouse, 615 E. Houston St., San Antonio, TX
     at   78205

     on   5/5/20 at 09:30 AM

     Hearing to Consider and Act Upon the Following: (IF TIME ESTIMATE EXCEEDS 20 MINUTES,
     PLEASE E−MAIL LISA ELIZONDO AT: lisa_elizondo@txwb.uscourts.gov) (Related Document(s): 266
     Application to Compromise and Settle Claims Against Tecovas, Inc., Pursuant to Bankruptcy Rule 9019
     (Adversary Case Number: 20−05006−CAG) filed by Steve Turner for Trustee Randolph N Osherow
     (Attachments: # 1 Proposed Order)) Hearing Scheduled For 5/5/2020 at 09:30 AM at SA Courtroom 3
     (Elizondo, Lisa)


Dated: 4/3/20
                                                         Barry D. Knight
                                                         Clerk, U. S. Bankruptcy Court




                                                                                         [Hearing Notice (BK)] [NtchrgBKaplc]
